             Case 2:13-cv-01386-AJS Document 1 Filed 09/23/13 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT PENNSYLVANIA

STEPHANIE GROOMS,                                 )
                                                  )
        Plaintiff,                                )
                                                  )
        v.                                        )       Case No.
                                                  )
GC SERVICES, LP,                                  )
                                                  )
        Defendant.                                )

                                   PLAINTIFF’S COMPLAINT

        Plaintiff, STEPHANIE GROOMS (“Plaintiff”), through her attorney, Michael A. Siddons,

alleges the following against Defendant, GC SERVICES, LP (“Defendant”):

                                         INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

        seq. (“FDCPA”).

                                 JURISDICTION AND VENUE

   2. This Court has jurisdiction under 28 U.S.C. §1331 and 15 U.S.C. §1692k FDCPA.

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such actions

        may be brought and heard before “any appropriate United States district court without regard

        to the amount in controversy.”

   4. Venue and personal jurisdiction in this District are proper because Defendant does or transacts

        business within this District, and a material portion of the events at issue occurred in this District.

                                             PARTIES

   5.   Plaintiff is a natural person residing in Butler, Butler County, Pennsylvania.

   6.   Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3).


                                                   1
         Case 2:13-cv-01386-AJS Document 1 Filed 09/23/13 Page 2 of 7




7.    Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8.    Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6).

9.    Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

10.   Defendant is a business entity engaged in the collection of debt within the State of Pennsylvania.

11.   Defendant is a Delaware Limited Partnership with its headquarters in Houston, Harris County,

      Texas. See Defendant’s Answer, Document No. 8, ¶12, 2:13­cv­11710­MOB­RSW.

12.   Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding account

      balances.

13.   When an unpaid, outstanding account is placed with Defendant it is assigned a file number.

14.   The principal purpose of Defendant’s business is the collection of debts allegedly owed to third

      parties.

15.   Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties. See

      Defendant’s Answer, Document No. 8, ¶16, 2:13­cv­11710­MOB­RSW.

16.   During the course of its attempts to collect debts allegedly owed to third parties, Defendant

      sends to alleged debtors bills, statements, and/or other correspondence, via the mail and/or

      electronic mail, and initiates contact with alleged debtors via various means of

      telecommunication, such as by telephone and facsimile.

17. Defendant acted through its agents, employees, officers, members, directors, heirs, successors,

      assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                 FACTUAL ALLEGATIONS

18. Defendant is attempting to collect a consumer debt from Plaintiff.

19. The alleged debt owed arises from transactions for personal, family, and household purposes.



                                                 2
         Case 2:13-cv-01386-AJS Document 1 Filed 09/23/13 Page 3 of 7




20. Within in the last year, Defendant was hired to collect on the alleged debt.

21.   Defendant called Plaintiff at 724­282­95xx in an attempt to collect on the alleged debt.

22.   Within one (1) year of Plaintiff filing this Complaint, Defendant communicated with Plaintiff in an

      attempt to collect on the alleged debt.

23.   Within one (1) year of Plaintiff filing this Complaint, Defendant left Plaintiff at least one

      voicemail message regarding the alleged debt.

24.   Within one (1) year of Plaintiff filing this Complaint, Defendant left the following voicemail

      message for Plaintiff, “This message is for Stephanie Grooms. [Inaudible]. Please call back to

      my office. The number is 866­862­2793. My direct extension is 3837. Thank you.”

25.   Defendant’s collector that left the messages transcribed in paragraph 24 was working within the

      scope of his employment when he communicated with Plaintiff in an attempt to collect a debt.

26. Defendant’s message for Plaintiff does not state that the call is from GC Services, LP.

27. Defendant’s message for Plaintiff does not state that the collector is attempting to collect a

      debt.

28. Defendant’s collector that left the message transcribed in paragraph 24 is familiar with the

      FDCPA.

29. Defendant’s collector that left the message transcribed in paragraph 24 knows the FDCPA

      requires debt collectors to identify the company’s name when placing a telephone call.

30. Defendant’s collector that left the message transcribed in paragraph 24 knows the FDCPA

      requires debt collectors to state that the communication is an attempt to collect a debt when

      leaving consumers a voicemail message.

31. The telephone number of 866­862­2793 is one of Defendant’s telephone numbers.



                                                3
      Case 2:13-cv-01386-AJS Document 1 Filed 09/23/13 Page 4 of 7




32. Defendant maintained a Call Detail Search regarding Plaintiff’s Account.

33. Defendant maintained an Account Detail Listing regarding Plaintiff’s Account.

34. Defendant maintains an insurance policy with CNA under which CNA may be liable to satisfy

   all or part of a possible judgment in this action or to indemnify or reimburse for payments made

   to satisfy the judgment.

35. Defendant recorded all of its telephone communications with Plaintiff regarding the Account.

36. Defendant recorded all of its telephone communications with third parties regarding the

   Account.

37. Defendant has in its possession audio recordings made in connection with Defendant’s efforts

   to collect the debt at issue in this matter.

38. In the normal course of business, Defendant does not retain copies of the actual letters it sends

   to various debtors.

39. Paul Grover, Vice President of Client Management Group for Defendant, has discoverable

   information regarding the day­to­day business activities and functions of Defendant.

40. Specifically, Paul Grover has information regarding Defendant’s policies and procedures

   regarding voicemail messages Defendant leaves for consumers and for third parties.

41. Additionally, Paul Grover has information regarding Defendant’s anticipated affirmative

   defenses.

42. Specifically, Paul Grover has information regarding Defendant’s anticipated bona fide error

   defense.

43. Per the nationwide PACER records, Defendant has defended approximately two­hundred four

   (204) lawsuits throughout the nation in the last year prior to the date Plaintiff filed this



                                                  4
      Case 2:13-cv-01386-AJS Document 1 Filed 09/23/13 Page 5 of 7




   Complaint.

44. Within one (1) year of Plaintiff filing this Complaint, Defendant has plead a Bona Fide Error

   Affirmative Defense in every Answer it filed in an FDCPA case.

45. In the last three (3) years, Defendant has had over 250 Complaints filed against it with the

   Better Business Bureau.

46. Defendant has a pattern and practice of not complying with the FDCPA when it leaves

   voicemail messages for consumers.

47. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 2:13­cv­11710, Darci Ravenscraft v. GC Services, LP.

48. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 2:12­cv­02637, Manrico Lollie v GC Services, LP.

49. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 1:13­cv­00084, Daniel Lambeth v. GC Services, LP.

50. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 1:13­cv­03570, Mordechai Pinson v. GC Services, LP.

51. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 5:13­cv­06093, Lana Babcock v. GC Services, LP.

52. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 3:13­cv­00510, Sheila Pratt v. GC Services, LP.

53. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 4:13­cv­00199, Thomas Laile v. GC Services, LP.

54. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in



                                          5
      Case 2:13-cv-01386-AJS Document 1 Filed 09/23/13 Page 6 of 7




   Case Number 4:13­cv­13744, Tamara Travers v. GC Services, LP.

55. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 1:13­cv­00984, David Cruz v. GC Services, LP.

56. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 3:13­cv­00518, Bart Martinez v. GC Services, LP.

57. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 3:13­cv­00519, Jo Lynn Eaton v. GC Services, LP.

58. Defendant did not comply with the FDCPA when it left the plaintiff a voicemail message in

   Case Number 3:13-cv-01002, Tracy Heyder v. GC Services, LP.

                         COUNT I
 DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

59. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692d of the FDCPA by engaging in conduct that the natural

          consequences of which was to harass, oppress, and abuse Plaintiff in connection with

          the collection of an alleged debt;

       b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

          meaningful disclosure of the caller’s identity when Defendant left Plaintiff a message that

          failed to state that call was from GC Services, LP.

       c. Defendant violated §1692e of the FDCPA by using false, deceptive, or misleading

          representations or means in connection with the collection of a debt;

       d. Defendant violated §1692e(10) of the FDCPA by using false representation or

          deceptive means in connection with the collection the alleged debt; and

       e. Defendant violated §1692e(11) of the FDCPA when Defendant left Plaintiff a


                                               6
          Case 2:13-cv-01386-AJS Document 1 Filed 09/23/13 Page 7 of 7




               voicemail message that did not state the communication was an attempt to collect a

               debt.

   60. Defendant’s acts as described above were done intentionally with the purpose of coercing

      Plaintiff to pay the alleged debt.

   61. As a result of the foregoing violations of the FDCPA, Defendant is liable to Plaintiff for statutory

      damages, and costs and attorney’s fees.

      WHEREFORE, Plaintiff, STEPHANIE GROOMS, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP, for the following:

   62. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15 U.S.C.

      1692k;

   63. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k; and

   64. Any other relief that this Honorable Court deems appropriate.



                                     RESPECTFULLY SUBMITTED,



September 20, 2013                   By:_/s/ Michael A. Siddons___________
                                            Michael A. Siddons, Esq.
                                            16 West Front Street
                                            Media, PA 19063
                                            Tel: 484­614­6546
                                            msiddons@siddonslaw.com
                                            Attorney for Plaintiff




                                                7
